Case 2:03-CV-02761-SHI\/|-tmp Document 36 Filed 07/06/05 Page 10f2 Page:')é;)j

IN THE UNITED STATES DlSTRICT COURT ay '_"' w
FOR THE WESTERN DISTRICT OF TENNESSEE

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nAvm JoHNsoN, OF 1 M%W
Plaintiff
"" No. 03-2761 M¢p
MEMPBIS mem sERvIcEs, mc. ad
cARGn.L, mc.,
Defendnots.

 

ORDER GRANTING MOTION TO FILE AMENDED COMPLA]NT

 

It appearing to the Conrt that Plaintiffhas filed an unopposed Motion To File An
Amended Complaint. For good cause showo, and Defendams having no opposition
thereto, the plainti&”s Motion To File Atnended Complaint is granted.

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U. S. MAGIS'I'RATE IUDGE
Date: 315 [4‘;7/0“.5

CERTIFICATE OF SERVICE

I, Iames T. Allison, hereby certify that I have served a copy of the
foregoing documents to Mr. John Staroes, Attorney for Defeodant, Cargill, Inc., at
his office at 165 Madison Avenue, Suite 2000, Memphis, Tem\essee 38103 and
Mr. Grego\y O’Neal, Attomey for Defendaot, Memphis Man`ne Sorvices, at his
o$ce of675 OakleafOone Lane Suite 200, Memphis, Tennessee 38117, by
placingintheUnited States Mail, postage Pl’¢PGid, firstclass, this day of
June, 2005.

 

JAMES ‘I`. ALLISON

Ti-is document entered on the docket sheet

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with Rule 58 and/or `FQ(a) FRCP on " `

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:03-CV-02761 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

